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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

IN RE:                             §                                     ENTERED
HIGH MESA, INC., et al             §        CASE NO: 20-30602            02/04/2020
                                   §
PETRO OPERATING COMPANY, LP        §        CASE NO: 20-30603
                                   §
PETRO ACQUISITIONS, LP; fdba PETRO §        CASE NO: 20-30604
ACQUISITIONS, INC.                 §
                                   §
HIGH MESA HOLDINGS, LP             §        CASE NO: 20-30605
                                   §
THE MERIDIAN RESOURCE AND          §        CASE NO: 20-30606
EXPLORATION, LLC                   §
                                   §
HIGH MESA HOLDINGS GP, LLC         §        CASE NO: 20-30607
                                   §
AM IDAHO, LLC                      §        CASE NO: 20-30608
                                   §
LOUISIANA ONSHORE PROPERTIES,      §        CASE NO: 20-30609
LLC                                §
                                   §
AMH ENERGY NEW MEXICO, LLC         §        CASE NO: 20-30610
                                   §
AM MICHIGAN, LLC                   §        CASE NO: 20-30611
                                   §
TEXAS ENERGY ACQUISITIONS, LP;     §        CASE NO: 20-30612
fdba TEXAS ENERGY ACQUISITIONS, §
INC.                               §
                                   §
CAIRN ENERGY USA, LLC; fka CAIRN §          CASE NO: 20-30613
ENERGY USA, INC.; fka OMNI         §
EXPLORATION, INC.                  §
                                   §
THE MERIDIAN PRODUCTION, LLC;      §        CASE NO: 20-30614
fdba THE MERIDIAN PRODUCTION       §
CORPORATION                        §
                                   §
HIGH MESA SERVICES, LLC            §        CASE NO: 20-30615
                                   §
HMS KINGFISHER HOLDCO, LLC         §        CASE NO: 20-30616
                                   §
ALTA MESA ACQUISITION SUB, LLC; §           CASE NO: 20-30619
fdba THE MERIDIAN RESOURCE         §
CORPORATION                        §
                                   §
ALTA MESA DRILLING, LLC            §        CASE NO: 20-30620
                                   §
ALTA MESA ENERGY, LLC              §        CASE NO: 20-30621
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                                  §
ALTA MESA GP, LLC                 §        CASE NO: 20-30622
                                  §
ARANSAS RESOURCES, LP; fka        §        CASE NO: 20-30623
ARANSAS RESOURCES, INC.           §
                                  §
ARI DEVELOPMENT, LLC              §        CASE NO: 20-30624
                                  §
BRAYTON MANAGEMENT GP II, LLC §            CASE NO: 20-30625
                                  §
BRAYTON RESOURCES, LP             §        CASE NO: 20-30626
                                  §
BRAYTON RESOURCES II, LP          §        CASE NO: 20-30627
                                  §
BUCKEYE PRODUCTION COMPANY,       §        CASE NO: 20-30628
LP; fdba BUCKEYE PRODUCTION       §
COMPANY, INC.                     §
                                  §
FBB ANADARKO, LLC                 §        CASE NO: 20-30629
                                  §
GALVESTON BAY RESOURCES, LP; fdba §        CASE NO: 20-30630
GALVESTON BAY RESOURCES INC.      §
                                  §
LEADS RESOURCES, LLC              §        CASE NO: 20-30632
                                  §
LOUISIANA EXPLORATION &           §        CASE NO: 20-30634
ACQUISITION, LP; fdba LOUISIANA   §
EXPLORATION AND ACQUISITIONS      §
PARTNERSHIP, INC.                 §
                                  §
NAVASOTA RESOURCES LTD. LLP; fdba §        CASE NO: 20-30635
HILLTOP ACQUISITION LLC; fka      §
NAVASOTA RESOURCES, INC.          §
                                  §
NUECES RESOURCES, LP; fdba NUECES §        CASE NO: 20-30637
RESOURCES, INC.                   §
                                  §
SUNDANCE ACQUISITION, LLC; fka    §        CASE NO: 20-30638
SUNDANCE ACQUISITION              §
CORPORATION                       §
                                  §
TEA ENERGY SERVICES LLC           §        CASE NO: 20-30639
                                  §
THE MERIDIAN RESOURCE, LLC        §        CASE NO: 20-30640
                                  §
VIRGINIA OIL AND GAS, LLC         §        CASE NO: 20-30641
                                  §        Jointly Administered Order
       Debtor(s)                  §
                                  §        CHAPTER 7

            ORDER AUTHORIZING COMPROMISE OF DISPUTES
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  BETWEEN ESTATE OF PETRO ACQUISITIONS, L.P. AND PETRO OPERATING
      COMPANY, L.P. AND CERTAIN OF THEIR CURRENT OR FORMER
             SHAREHOLDERS, DIRECTORS AND OFFICERS

        On this date, the Court authorized the Trustee to negotiate an emergency settlement with
certain of the current or former shareholders, directors and officers of Petro Acquisitions, L.P.
and Petro Operating Company, L.P. (jointly, “the Estates”). Shortly after receiving that oral
authorization, the Trustee orally moved for the Court to issue this emergency order. No party in
interest objected and the Court now approves the Trustee’s oral motion.

       The Court Orders:

       1. The parties to this agreement are the Estates and William McMullen, Mark Stoner,
          Andrew Koehler, Bayou City Energy Management, L.L.C. and its affiliates, Andrew
          Kidd, Jeffrey Hostettler, HPS Investment Partners, LLC, Harlan Chappelle (and his
          affiliated entities) and Michael Ellis (and his affiliated entities) (collectively, the
          “Released Parties.”).

       2. The Released Parties must pay the Trustee the cumulative sum of $75,000.00, to be
          received not later than 5:00 p.m. on February 5, 2020.

       3. The Estates, acting through the Trustee, release the Released Parties with respect to
          any allegation that the Released Parties failed to provide Petro Acquisitions, L.P. or
          Petro Operating Company, L.P. with adequate funds to meet exigent circumstances
          with respect to the immediate transition into these bankruptcy cases (the “Exigent
          Circumstances”). For the avoidance of doubt, this Release is intended to broadly
          release all allegations regarding the Exigent Circumstances, but is narrowly limited to
          a release concerning the Exigent Circumstances. In no event shall the Released
          Parties be required to provide any additional funds to provide for the Exigent
          Circumstances. By way of example, the $75,000.00 is intended to provide adequate
          funds for a two to three week emergency transition to the United States or the State of
          Florida. If the $75,000.00 is inadequate because the transition is more expensive than
          anticipated or longer in time than anticipated, the Released Parties will not be
          required to make additional contributions.

       SIGNED February 4, 2020.


                                                ___________________________________
                                                           Marvin Isgur
                                                UNITED STATES BANKRUPTCY JUDGE




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